Case 3:16-md-02738-MAS-RLS Document 9886-2 Filed 05/29/19 Page 1 of 6 PageID: 60340




                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY


    IN RE: JOHNSON & JOHNSON                  Civil Action No. 3:16-md-2738-
    TALCUM POWDER PRODUCTS                    FLW-LHG
    MARKETING, SALES
    PRACTICES, AND PRODUCTS                   MDL No. 2738
    LIABILITY LITIGATION


   THIS DOCUMENT RELATES TO ALL CASES

              CERTIFICATION OF MICHELLE A. PARFITT, ESQ.

         Michelle A. Parfitt, Esq., hereby certifies as follows:

         1.    I am an attorney at law and member of the law firm of Ashcraft &

   Gerel, LLP. I was appointed as Co-Lead Counsel to represent all Plaintiffs in the

   above-captioned matter.

         2.    I submit this Certification based on personal knowledge in support of

   the Plaintiffs’ Steering Committee’s Memorandum in Response and Opposition to

   J&J’s Conditional Motion to Exclude Certain Plaintiffs’ Experts’ Opinions for

   Lack of Qualifications.

         3.    Attached hereto as Exhibit 1 is a true and correct copy of Houghton

   SC, Reeves KW, Hankison SE, Crawford L, Lane D, Wactawski-Wende J, et al.,

   Perineal Powder Use and Risk of Ovarian Cancer, 106 J. Nat’l Cancer Inst.

   (2014).
Case 3:16-md-02738-MAS-RLS Document 9886-2 Filed 05/29/19 Page 2 of 6 PageID: 60341




         4.    Attached hereto as Exhibit 2 is a true and correct copy of A.B. Hill,

   The Environment and Disease: Association or Causation?, 58 Proc. Royal Soc’y

   Med. 295 (1965).

         5.    Attached hereto as Exhibit 3 is a true and correct copy of Howick, et

   al., The evolution of evidence hierarchies: what can Bradford Hill’s ‘guidelines

   for causation’ contribute? J. Royal Soc. Med., 102:186-194, at 187-189 (2009).

         6.    Attached hereto as Exhibit 4 is a true and correct copy of the

   Deposition Arch Carson, MD, Ph.D., dated January 19, 2019.

         7.    Attached hereto as Exhibit 5 is a true and correct copy of the Report

   of Arch Carson, MD, Ph.D, dated November 16, 2018.

         8.    Attached hereto as Exhibit 6 is a true and correct copy of the Report

   of Robert B. Cook, Ph.D, dated November 16, 2018 (FILED UNDER SEAL).

         9.    Attached hereto as Exhibit 7 is a true and correct copy of the

   Deposition of Robert Cook, Ph.D., dated January 31, 2019.

         10.   Attached hereto as Exhibit 8 is a true and correct copy of the Report

   of Michael Crowley, Ph.D, dated November 12, 2018 (FILED UNDER SEAL).

         11.   Attached hereto as Exhibit 9 is a true and correct copy of the

   Deposition of Michael M. Crowley, Ph.D., dated January 14, 2019 (FILED

   UNDER SEAL).




                                           2
Case 3:16-md-02738-MAS-RLS Document 9886-2 Filed 05/29/19 Page 3 of 6 PageID: 60342




         12.   Attached hereto as Exhibit 10 is a true and correct copy of the Report

   of Sarah Kane, MD, dated November 15, 2018.

         13.   Attached hereto as Exhibit 11 is a true and correct copy of the

   Deposition of Sarah Kane, MD, dated January 25, 2019.

         14.   Attached hereto as Exhibit 12 is a true and correct copy of the

   Deposition of Robert Kurman, MD, dated April 2, 2019.

         15.   Attached hereto as Exhibit 13 is a true and correct copy of the Report

   of Mark Krekeler, Ph.D, dated November 16, 2018 (FILED UNDER SEAL).

         16.   Attached hereto as Exhibit 14 is a true and correct copy of the

   Deposition of Mark Krekeler, Ph.D., dated January 25, 2019.

         17.   Attached hereto as Exhibit 15 is a true and correct copy of the Report

   of Shawn Levy, Ph.D, dated November 16, 2018.

         18.   Attached hereto as Exhibit 16 is a true and correct copy of the

   Deposition of Shawn Levy, Ph.D., dated January 11, 2019.

         19.   Attached hereto as Exhibit 17 is a true and correct copy of the Expert

   Report of Anne McTiernan, MD, Ph.D, dated November 16, 2018.

         20.   Attached hereto as Exhibit 18 is a true and correct copy of the

   Deposition of Anne McTiernan, MD, Ph.D., dated January 28, 2019.




                                           3
Case 3:16-md-02738-MAS-RLS Document 9886-2 Filed 05/29/19 Page 4 of 6 PageID: 60343




         21.   Attached hereto as Exhibit 19 is a true and correct copy of the

   Testimony of Anne McTiernan before the House of Representatives Subcommittee

   on Economic and Consumer Policy, dated March 12, 2019.

         22.   Attached hereto as Exhibit 20 is a true and correct copy of the Draft

   Safety Assessment – Talc Public Comment to Health Canada submitted by Anne

   McTiernan, MD, Ph.D., dated February 9, 2019.

         23.   Attached hereto as Exhibit 21 is a true and correct copy of the

   Affidavit of Anne McTiernan, MD, Ph.D., dated May 28, 2019.

         24.   Attached hereto as Exhibit 22 is a true and correct copy of the Expert

   Report of Patricia G. Moorman, MSPH, Ph.D., dated November 16, 2018.

         25.   Attached hereto as Exhibit 23 is a true and correct copy of the

   Deposition of Patricia G. Moorman, MSPH, Ph.D., dated March 12, 2018.

         26.   Attached hereto as Exhibit 24 is a true and correct copy of

   Schildkraut, et al., Association Between Body Powder Use and Ovarian Cancer:

   The African American Epidemiology Study (AACES), 25 Cancer Epidemiology

   Biomarkers Prev. 1411(2016).

         27.   Attached hereto as Exhibit 25 is a true and correct copy of the

   Deposition of Patricia G. Moorman, MSPH, Ph.D., dated January 25, 2019.




                                           4
Case 3:16-md-02738-MAS-RLS Document 9886-2 Filed 05/29/19 Page 5 of 6 PageID: 60344




         28.   Attached hereto as Exhibit 26 is a true and correct copy of the Expert

   Report of Laura Plunkett, Ph.D., DABT, dated November 16, 2018 (FILED

   UNDER SEAL).

         29.   Attached hereto as Exhibit 27 is a true and correct copy of the

   Deposition of Laura Plunkett, Ph.D., DABT, dated December 19, 2018.

         30.   Attached hereto as Exhibit 28 is a true and correct copy of the Expert

   Report of Dr. Ghassan Saed, dated November 16, 2018.

         31.   Attached hereto as Exhibit 29 is a true and correct copy of the

   Deposition of Ghassan Saed, Ph.D., dated January 23, 2019.

         32.   Attached hereto as Exhibit 30 is a true and correct copy of the Expert

   Report of Jack Siemiatycki, MSc, PhD, dated November 16, 2018.

         33.   Attached hereto as Exhibit 31 is a true and correct copy of Langseth,

   et al., Perineal Use of Talc and Risk of Ovarian Cancer, 62 J. Epidemiology

   Comm. Health 358 (2008).

         34.   Attached hereto as Exhibit 32 is a true and correct copy of the

   Deposition of Jack Siemiatycki, MSc, Ph.D., dated January 31, 2019.

         35.   Attached hereto as Exhibit 33 is a true and correct copy of the Expert

   Report of Sonal Singh, MD, MPH, dated November 16, 2018.

         36.   Attached hereto as Exhibit 34 is a true and correct copy of the

   Deposition of Sonal Singh, MD, MPH, dated January 16, 2019.



                                           5
Case 3:16-md-02738-MAS-RLS Document 9886-2 Filed 05/29/19 Page 6 of 6 PageID: 60345




         37.   Attached hereto as Exhibit 35 is a true and correct copy of the Expert

   Report of Rebecca Smith-Bindman, M.D., dated November 16, 2018.

         38.   Attached hereto as Exhibit 36 is a true and correct copy of the

   Deposition of Rebecca Smith-Bindman, MD, dated February 7, 2019 and February

   8, 2019.

         39.   Attached hereto as Exhibit 37 is a true and correct copy of the Expert

   Report of Judith Zelikoff, Ph.D., dated November 16, 2018.

         40.   Attached hereto as Exhibit 38 is a true and correct copy of the

   Deposition of Judith Zelikoff, Ph.D., dated January 21, 2019.

         41.   I certify that the foregoing statements made by me are true. I am

   aware that if any of the foregoing statements made by me are willfully false, I may

   be subject to punishment.


   Dated: May 29, 2019                          /s/ Michelle A. Parfitt
                                                Michelle A. Parfitt




                                            6
